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                    EXHIBIT 12
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     or remotely. Although local information technology services at the University may

     have supplemental policies regarding acceptable use and user privacy

     expectations, those policies cannot diminish University responsibilities or user

     privacy expectations as set forth below.


     Acceptable Use
     The University provides information technology to its faculty, other academic

     appointees, postdoctoral researchers, students, staﬀ, and some aﬃliates and

     guests to advance its educational, research, scholarship and health care missions.

     In addition, authorized users may also use University information technology for

     appropriate incidental personal use so long as those activities are legal and do not

     violate: University policies; contractual obligations; the safety, security, privacy,
     reputational, and intellectual property rights of others; or restrictions on political or

     commercial activities that are applicable to not for proﬁt organizations like the

     University.


     Every user bears the responsibility for knowing and complying with applicable laws,
     policies, and rules; for appropriately securing their computers and other electronic

     devices from misuse or theft by others; and for avoiding any use that interferes
     with others’ legitimate access to and use of University information technology.

     University policies that may apply, depending on the identity of the user, include

     but are not limited to the University’s personnel, ﬁnancial and administrative

     policies, the Employee Handbook, the Handbook for Faculty and Other Academic

     Appointees, the Postdoctoral Researcher Policy Manual, the Student Manual, and

     any divisional, departmental, or school handbook, manual, policy or procedure, all

     of which are subject to change from time to time.


     University Obligations
     While our primary goal is to respect our users’ privacy interests, the University

     bears signiﬁcant and increasingly complex legal, operational and compliance-based

     duties, which from time to time require it to preserve and secure custody of
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     information from users’ accounts and associated storage media without accessing

     or searching the content; in some cases, the University may also be required to

     access the content of user electronic information, search it using specialized

     software conﬁgured with appropriately tailored criteria, review the information

     found by the search, and disclose relevant portions to others who are duly

     authorized to receive it. For example, when an employee leaves the University,
     others often require access to the departed employee’s email account to ensure

     continuity of business operations, research, teaching and educational programs.

     Likewise, the University often bears clear legal duties to preserve, review and, as

     appropriate, disclose data generated and/or maintained by users of University

     technology resources.


     In this regard, the University may preserve, access, and disclose information from
     University information technology resources as permitted by law to uphold

     contractual obligations, to determine compliance with and enforce University

     policies and legal duties, to gather information relevant to pending or potential

     litigation, and to maintain the integrity and security of information technology

     systems. In connection with these responsibilities, the University may also be

     obligated to request that a user turn over or provide appropriate access to

     University-related information on the user’s own personal computer, laptop, cell

     phone, or other electronic device.


     In addition, when any use of University information technology presents an

     imminent threat to other users or to the University’s technology infrastructure, or

     poses a likely violation of the law or University policy, the University may, without
     notice to the user, take whatever steps are necessary to manage the threat and/or

     preserve and access data. Those measures may include changing passwords,

     removing access rights, disabling or impounding computers, or disconnecting

     speciﬁc devices or entire network segments from University voice and data

     networks. System operators will restore connectivity and functionality as soon as

     practicable after they identify and neutralize the threat and implement any

     measures to ensure the threat does not reoccur.
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     Process
     The University’s Oﬃce of Legal Counsel (OLC) has the responsibility and authority

     to review and approve all requests to preserve, access, and disclose a user’s

     electronic information. Although OLC works closely with IT Services and decision

     makers across the campus, its ultimate legal and ethical duties are to the institution

     itself.


     At all times, the OLC will use reasoned judgment to determine whether requests
     are consistent with this policy and the law. Normally, if the request relates to

     accessing data maintained by academic appointees, OLC will confer with the Oﬃce

     of the Provost before approving, rejecting or modifying the request. Likewise, OLC

     will typically confer with the cognizant Dean of Students and/or the Oﬃce of the
     Vice President of Campus Life and Student Services before approving, rejecting or

     modifying requests related to data maintained by students. Human Resources will
     normally be consulted before approving, rejecting or modifying requests related to

     staﬀ employees and volunteers. Finally, OLC will ordinarily confer with the

     cognizant dean’s oﬃce when the request relates to other academic appointees and

     postdoctoral researchers. In all instances, working as needed with other units (e.g.,

     IT Services), OLC will seek to establish conditions or other parameters for the

     access to data under this policy, provide a decision-making framework to allow

     similar requests to follow consistent process leading to similar outcomes, and

     maintain appropriate records of these processes. OLC will also work with IT

     Services to prepare an annual summary report of all such activity for the Audit

     Committee of the University’s Board of Trustees and the University’s Board of

     Computing and Academic Services.


     Notice
     In keeping with our core values, the University normally will attempt to provide

     advance notice to the aﬀected individual of access to or the preservation or sharing

     of data with third parties unless such notiﬁcation would put the University at risk or
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     is prohibited by law. For example, some subpoenas compel the University to

     obtain, preserve and produce data but forbid the University from disclosing the

     existence of the subpoena to the person whose data is sought. Likewise, in some

     misconduct investigations, the University is required to obtain and preserve

     research data under circumstances where advance disclosure of the data

     preservation may jeopardize the integrity of the investigation.

     The University also maintains the authority to limit access to its networks or to

     remove material stored or posted on its computers when applicable policies,

     contractual obligations, or applicable laws are or likely have been violated.




     Please see the FAQs on the Acceptable Use Policy for more information.


     Category: Eligibility and Acceptable Use

     Policy Owner: Chief Information Security Oﬃcer




                                     Support                        Resources for IT Staﬀ

                                     Students                       Divisional Contact List
     itservices@uchicago.edu
                                     Faculty                        Equipment Available
     773.702.5800
                                     Staﬀ                           for Lending
     © 2016 The University of        Service Catalog                Identity & Privileges
     Chicago                         Rate Sheets                    Safe Computing
     All rights reserved             Request a Service              Training Resources

                                     All Services                   Partner Support

                                                                    Data Classiﬁcation

                                                                    Guideline



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